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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 AMERICAN CIVIL LIBERTIES UNION,
 et al.,

                Plaintiffs,
                                                          Civil Action No. 20-3031 (RCL)
        v.

 FEDERAL BUREAU OF PRISONS, et al.,

                Defendants.


                               STIPULATION OF DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the parties to this action hereby

stipulate to dismiss this action with prejudice pursuant to the parties’ settlement agreement

executed in connection with this matter.

[Signature page follows]
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Dated: August 19, 2024                Respectfully submitted,

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